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                   UNITED STATES BANKRUPTCY COURT
                    NORTHERN DISTRICT OF GEORGIA

 In re:                                       Chapter 7

 SHERRIE LYNN MOON,                           Case No. 23-54588-pwb

                        Debtor.

  CREDITOR TIMOTHY MCAFEE’S MOTION FOR RELIEF FROM
 AUTOMATIC STAY TO PROCEED WITH DISPOSSESSORY ACTION

      COMES NOW undersigned counsel for Creditor Timothy McAfee (this

“Creditor”) and, pursuant to the provisions of 11 U.S.C. § 362, respectfully moves

this Court for relief from the automatic stay (or to rule that the stay does not apply

here or was terminated by operation of statute), to allow Creditor to proceed with a

dispossessory action he filed to dispossess Debtor of Creditor’s real property

located at 428 Tidewater Cove, Stone Mountain, Ga., 30087 (the “Property”).

      Debtor refuses to vacate the home Creditor purchased after Debtor had been

divested completely of her interest in the Property, as the result of a foreclosure

sale, as detailed herein. Moreover, Debtor has filed and had dismissed two (2)

Chapter 7 cases in the year preceding her filing of the Petition in the current case.

The first of those Chapter 7 cases was filed August 2, 2022 and was dismissed

August 31, 2022. The second Chapter 7 case was filed January 3, 2023 and was

dismissed January 20, 2023. Therefore, Creditor seeks here a “comfort order”
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(including for purposes of presenting an order to the court in the dispossessory

action described below) confirming that the automatic stay never applied in

this case, pursuant to 11 U.S.C. § 362(c)(4)(A)(i). Also, even if only one of

the above-referenced Chapter 7 cases had been filed in the prior year, the

stay terminated automatically after thirty (30) days of the May 16, 2023

Petition-filing in the present case, pursuant to 11 U.S.C. § 362(c)(3)(A).

                                 BACKGROUND

      On or about January 3, 2023, Debtor’s then-security-deed-lender (the

“Lender”) acquired the Property by way of a Deed Under Power, a true and correct

copy of which is attached hereto as Exhibit A.

      On or about March 7, 2023, Creditor closed on his purchase of the Property

from the Lender or successor thereto (a true and correct copy of the Special

Warranty Deed to the Property is attached hereto as Exhibit B). Debtor has been

wrongfully possessing the Property despite multiple demands from Creditor for

Debtor to vacate the Property.

      On or about March 24, 2023, Creditor filed and subsequently served on

Debtor the Dispossessory Warrant and Summons, a true and correct copy of which

is attached hereto as Exhibit C (the “Dispossessory Warrant”).

      On April 10, 2023, Debtor filed the Answer to the Dispossessory Warrant, a

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true and correct copy of which Answer is attached hereto as Exhibit D. In that

Answer, Debtor stated—as her sole basis for opposing the Dispossessory

Warrant—that she “did not have a landlord tenant relationship with” Creditor.

      Indeed, Creditor has never entered into any form of lease or other

arrangement pursuant to which Debtor was given permission to occupy or possess

the Property. Creditor has made no post-foreclosure claims of ownership or other

rights to or in the Property, either in this present proceeding or any other

proceeding. Also, in “Schedule G: Executory Contracts and Unexpired Leases” of

Debtor’s June 14, 2023 “Statement of Financial Affairs for Individuals Filing for

Bankruptcy,” (the “Statement of Financial Affairs”) Debtor states that she has no

“executory contracts or unexpired leases.”

      Therefore, Debtor does not have the option of assuming any lease related to

the Property, and the sixty-day period that applies to a debtor’s assumption or

rejection of a residential lease does not apply here.

      Additionally, in “Schedule A/B: Property” of the Statement of Financial

Affairs,” Debtor states that she does not “own or have any legal or equitable interest

in any residence, building, land, or similar property.” 1


1
 See In re Taylor, No., 16-69706-PMB, 2018 WL 1267998, at *5 (Bankr. N.D. Ga.
Mar. 8, 2018) (“[T]he Georgia Supreme Court cites favorably (and relies on) several
decisions from United States Bankruptcy Courts in Georgia that hold, as we do
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      Debtor nonetheless appeared at a May 17, 2023 hearing on the Dispossessory

Warrant, informing the court and the Creditor that she had filed the Petition in the

present bankruptcy. The court in the Dispossessory Warrant action stayed that

action, apparently pursuant to that court’s belief that this Court’s automatic stay

applied to the Dispossessory Warrant proceeding.

      However, the automatic stay in the present bankruptcy should not apply to

Debtor’s wrongful possession of the Property, and Creditor respectfully requests

that this Court grant him relief the automatic stay to the extent it applies to Debtor’s

possession of the Property (as a “tenant at sufferance” or otherwise) or refuse to

extend the automatic stay to Creditor’s dispossessory action against Debtor. 2


today, that the grantor/borrower's right to redeem terminates as of the time that
the foreclosure sale is cried and the bid is accepted (emphasis added; citing
Tampa Inv. Grp., Inc. v. Branch Banking & Trust Co., 290 Ga. 724, 727, 723 S.E.2d
674, 677 (2012); other citations omitted).
2
  See In re Dillard, 2007 WL 521888, at *2 (Bankr. M.D. Ga. Feb. 7, 2007)(refusing
to extend automatic stay to stop mortgage creditor's dispossessory action where
the debtor's equity of redemption terminated pre-petition); Leqqett v. Morgan
(In re Morgan), 115 B.R. 399 (Bankr. M.D. Ga. 1990)(granting relief from the stay
to permit eviction after concluding debtor's equity of redemption expired pre-
petition); see, e.g., In re Cook, 614 B.R. 635, 647 (Bankr. N.D. Ga. 2020)(The only
consideration this court referenced in a similar case where a former homeowner
refused to vacate the home after it was sold in a foreclosure sale, was whether any
COVID-19 eviction moratorium could prevent a lawful dispossessory: “Lender
should address in any subsequently-filed motion for relief from the stay imposed by
this order whether it should be entitled to proceed with dispossessory proceedings
during the pendency of the COVID-19 pandemic.”).
                                            4
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      Moroever, and as stated above and perhaps most importantly, Debtor’s two

prior Chapter 7 petitions—both filed and dismissed less than a year prior to the

current Chapter 7 action (again, petition filed May 16, 2023), preclude application

of the automatic stay in the present case, pursuant to 11 U.S.C. § 362(c)(4)(A)(i).

And, even if Debtor had filed only one Chapter 7 in the past year prior to the current

Petition filing, then any applicable stay would have terminated on June 15, 2023,

which was thirty (30) days after Debtor filed her Petition (on May 16, 2023),

pursuant to 11 U.S.C. § 362(c)(3)(A).

      For these reasons, Creditor respectfully moves this Court to hold and confirm

that the automatic stay has terminated, is lifted, or never applied to Creditor’s

Dispossessory Warrant proceeding in the first place. A Proposed Order is attached

hereto as Exhibit E.

              Dated: June 16, 2023

                                               Respectfully Submitted by:

                                               THRIFT MCLEMORE

                                               /s/ Ryan K. McLemore
                                               Ryan K. McLemore
                                               Georgia Bar No. 496929
                                               rmclemore@thriftlegal.com




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                                            Attorney for Creditor Timothy McAfee

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Suite 375
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rmclemore@thriftlegal.com
404-520-8776 (direct)




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  EXHIBIT A




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     EXHIBIT B




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 EXHIBIT C




                                                                             MAGISTRATE COURT OF
                                                                               DEKALB COUNTY, GA.
                                                                                   3/24/2023 3:34 PM
                                                                                                FILED
                                                                                  BY: Phyllisha P Hart
                                                                                                                                                   23D08790
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             MAGISTRATE COURT OF ______________COUNTY,
                                        DeKalb                GEORGIA

                                                                                                                         EXHIBIT D
              04/10/2023
Date Filed ________________                                                              23D08790
                                                                                Case No: _______________


     Timothy McAfee
     1000 Parkwood Cir. SE, Suite 375
     Atlanta, GA 30339
     Plaintiff(s) Name, Address                                                         DISPOSSESSORY PROCEEDING
     vs.
                                                                                        ANSWER
     Sherrie Moon
     428 Tidewater Cove Stone Mountain, GA 30087
     Defendant(s) Name, Address

                                     (Please note and then use another sheet(s) for additional space, as needed.)

      ✔
     _____   I am the Defendant. I am filing an Answer I state the following in response to Plaintiff’s claim in this lawsuit:

      ✔
     _____   I do not have a landlord tenant relationship with the plaintiff.

     _____   My landlord did not give me the proper notice that my lease or rental agreement was terminated in accordance with the terms of our
             lease. The landlord did not properly demand that I move before filing the lawsuit.

     _____   My landlord terminated my lease without a valid reason.

     _____   I do not owe any rent to my landlord.

     _____   I offered and had the money to pay my rent on or before the date I usually pay, but my landlord refused to accept it.

     _____   My landlord would not accept my rent, correct late fees and the court costs. I had all the money to pay.

     _____   My landlord failed to repair the property.        This failure has lowered its value or resulted in other damages more than the rent
             claimed.

     _____   I am a residential tenant. This is my first dispossessory action. I am paying all my rent, late fees and court costs to the clerk.

     _____   My landlord is not entitled to evict me or secure a money judgment for the following additional reasons: (attach if necessary)
                                                                                                                   _______________
                      COUNTERCLAIM - (Please note and then use another sheet(s) for additional space, as needed.)
     _____    My landlord owes me $________________ for the following reason(s):

     _____   My landlord failed to repair my property. Due to this failure, its value has been reduced $______________________ each month
             for_______________ months.

     _____   Since my landlord failed to make requested repairs, I made these repairs. I made these repairs that cost $______________.            I have
             all my receipts. I will bring the receipts and all documents concerning these payments to my trial.

     _____   My landlord’s failure to repair resulted in damages of $________________ to my person and/or property.

     WHEREFORE, I ask this Court to:
     (a)  Dismiss Plaintiff’s lawsuit with all costs assessed against Plaintiff.
     (b)  Enter a judgment in my favor and against Plaintiff
     (c)  Plus attorney's fees in the amount of _________________ pursuant to ______________________________; and
     (d)  Grant such other and further relief as the Court deems just and proper.
                                                                                         /s/ Sherrie Moon
                                                                                         __________________________________________
                                                                                          Signature of Defendant filing answer/ Attorney
      Sherrie Moon
      428 Tidewater Cove                                                                 Bar # ________________________
      Stone Mountain, GA 30087
       ______________________________________________

     This 10th       April
          ___ day of _______________,    23
                                      20__


     /s/ Sherrie Moon
     __________________________________________                      ____________________________________________
                     DEFENDANT                                                         DEPUTY CLERK
                                                                                                          MAGISTRATE COURT OF
                                                                                                             DEKALB COUNTY, GA.
                                                                                                                  4/10/2023
     EACH DEFENDANT MUST FILE THEIR OWN ANSWER. Attorneys may file answers for more than one defendant, pro se litigants    10:50 PM
                                                                                                                         cannot.
                                                                                                                               FILED
                                                                                MAG 30-03 DISPOSSESSORY ANSWER.DOCBY: Nykesha Rasool
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                                    EXHIBIT E
                                 (Proposed Order)




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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA

 In re:                                         Chapter 7

 SHERRIE LYNN MOON,                             Case No. 23-54588-pwb

                         Debtor.

ORDER GRANTING CREDITOR TIMOTHY MCAFEE’S MOTION FOR
    RELIEF FROM AUTOMATIC STAY TO PROCEED WITH
                DISPOSSESSORY ACTION

        Upon consideration of the above-titled Motion, and all other matters of record;

and it appearing that this Court has jurisdiction to consider the Motion and this Court

having determined that the relief requested in the Motion is in the best interests of

the Debtor, her estate, creditors, and other parties-in-interest; and it appearing that

proper and adequate notice of the Motion has been given and that no other or further

notice is necessary; and after due deliberation thereon; and good and sufficient cause

appearing therefor,

IT IS HEREBY ORDERED THAT:

   1.      For the reasons set forth above, the Motion is GRANTED herein;

   2.      Creditor is not bound or restricted by any automatic stay that may have

           otherwise been in place in this action pursuant to 11 U.S.C. § 362, and

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          Creditor is therefore allowed to pursue a dispossessory writ against

          Debtor.

   3.     This Court shall retain jurisdiction with respect to all matters arising from

          or relating to the interpretation or implementation of this Order.

                               ### END OF ORDER ###

Prepared and Submitted by:
THRIFT MCLEMORE

/s/ Ryan K. McLemore
Ryan K. McLemore
Georgia Bar No. 496929
rmclemore@thriftlegal.com
1000 Parkwood Circle
Suite 375
Atlanta, GA 30339
rmclemore@thriftlegal.com
404-520-8776 (direct)
Attorney for Creditor Timothy McAfee




                          CERTIFICATE OF SERVICE

        I certify that on the date of filing of CREDITOR TIMOTHY MCAFEE’S

MOTION FOR RELIEF FROM AUTOMATIC STAY TO PROCEED WITH

DISPOSSESSORY ACTION, a true and correct copy of the foregoing document

was served by the Electronic Case Filing System for the United States Bankruptcy

Court for the Northern District of Georgia on those parties registered to receive
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electronic notices.

                                        /s/ Ryan K. McLemore
                                        Ryan K. McLemore
                                        Georgia Bar No. 496929




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